         Case 1:24-cv-03155-JSR               Document 65           Filed 05/19/25   Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------X
NORTHROCK MANAGEMENT LLC,
f/k/a NORTHROCK MINERALS LLC,

                               Plaintiff/Counterclaim-Defendant,

                                                                       24 CIVIL 3155 (JSR)

                 V.                                                          JUDGMENT
 JOSEPH COHEN and SNOW JOE LLC,
                            Defendants/Counterclaim-Plaintiffs,
-------------------------------------------------------------------------X

SNOW JOE LLC,
                          Third-Party Plaintiff,
                 V.

MOSHE WECHSLER,
              Third-Party Defendant.

-------------------------------------------------------------------------X


        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Amended Opinion and Order dated May 16, 2025, the Court grants

summary judgment in favor of Northrock and against Snow Joe and Cohen on Counts I through

IV in the amount of $6,265,000 plus pre- and post-judgment interest. The principal amounts,

interest rates, and the dates of accrual for the prejudgment interest amount are the following: The

prejudgment interest for the Promissory Note is based on a principal amount of $4,500,000.00,

which began accruing at an 18% per annum rate on September 1, 2023 through the date of the

judgment in the amount of $1,389,205.48. the Promissory Note provides for the 18% interest

rate; the prejudgment interest for the Payment Agreement is based on a principal amount of

$1,605,190.52, which began accruing at a 10% interest rate on November 21, 2022 through the
        Case 1:24-cv-03155-JSR           Document 65       Filed 05/19/25    Page 2 of 2




date of the judgment in the amount of $400,198.18. The Payment Agreement provides for the

10% interest rate; And finally, the prejudgment interest for the rent reimbursement is based on a

principal amount of $37,125, which began accruing at 9% interest rate (New York default rate)

on October 1, 2023 through the date of the judgment in the amount of $5,455.85.

Correspondingly, defendants' counterclaims and third-party claims are dismissed in their

entirety; accordingly, the case is closed.

Dated: New York, New York

         May 19, 2025


                                                             TAMMI M. HELLWIG
                                                           ________________________
                                                                 Clerk of Court

                                                     BY:
                                                           _________________________
                                                           _____
                                                              _ _____
                                                                   _____________
                                                                            ______
                                                                              ______
                                                                                  ________
                                                                   Deputy
                                                                    Deputy Clerk
